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                                                       January 17, 2022


BY ECF & EMAIL

Chief Judge Richard Seeborg
United States District Court
Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102

         Re:         Djeneba Sidibe et al. v. Sutter Health, Case No. 3:12-cv-04854-LB

Dear Chief Judge Seeborg:

         We write on behalf of defendant Sutter Health in response to plaintiffs’ January 14, 2022
letter requesting Your Honor to “confer” with Judge Beeler to revisit her rulings regarding how
trial will proceed in the above captioned matter. See ECF 1390. Plaintiffs’ request is improper,
and no intervention is warranted.

        Plaintiffs are effectively seeking to appeal Judge Beeler’s trial management decisions—
or at the very least, asking Your Honor to use your influence to alter her decisions. The parties
consented to Judge Beeler’s presiding over all proceedings in this case and acknowledged that
any appeals would be to the Ninth Circuit. See ECF 14. Having done so, plaintiffs cannot now
ask another District Court judge to overrule, second guess, or influence Judge Beeler’s rulings.
If appeals to the Chief Judge or others on the court were permitted, there would be no end to the
parade of unhappy litigants seeking to go around their judge in search of a different result.
Finally, given Judge Beeler’s recent orders regarding trial logistics (ECF 1391 & 1392),
plaintiffs’ requests are largely moot.

         Judge Beeler has given (and continues to give) plaintiffs ample opportunity to be heard
on trial management issues, including whether to proceed with a remote jury trial. She is
carefully evaluating each side’s arguments, and is exercising her authority to actively manage the
case in light of all the relevant considerations. Plaintiffs’ request for reconsideration should be
directed to Judge Beeler, not to other judges not involved in the case. 1


         1
           Sutter’s responses to plaintiffs’ request for a fully remote or their version of a hybrid jury trial are detailed
in its submission to Judge Beeler, and we will not repeat them here. See ECF 1390-1 at pp. 6–15.




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The Honorable Richard Seeborg
January 17, 2022
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                                                      Respectfully submitted,

                                                      /s/ David C. Kiernan

                                                      David C. Kiernan
                                                      Counsel to Defendant Sutter Health

cc:     The Hon. Laurel Beeler
        Matthew L. Cantor (Counsel to Plaintiffs)
        Jean Kim (Counsel to Plaintiffs)
        Robert Bunzel (Counsel to Sutter Health)
        Jeffrey A. LeVee (Counsel to Sutter Health)

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